Case 1:05-cv-01163-.]DT-STA Document 12 Filed 08/23/05 Page 1 of 3 Page|D 14

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IN THE UNITED STATES DISTRICT COURT 54[/@ \\
FOR THE WESTERN DlSTRlCT OF TENNESSEE 0 33 p& O.Q
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'%¢' ’”/§///0’§)1) )
/jMF/" ainpr
ANNA l\/l. HILL, lndividually and as )
Personal Representative of the Estate of )
CHARLOTTE THOMPSON, deceased; )
ET AL., )
)
Plaintit`fs, )
)
VS. ) No. 05-1163-T/An

)
GREYHOUND BUS LINES, INC., a )
Delaware Corporation', ARC )
INTERNATIONAL d/b/a TRANS USA )
CORPORATION; and ALEX YU )
CHANG, )
)
Defendants. )

 

ORDER DENYING MOTION TO RESET TRIAL DATE AS UNNECESSARY

 

The parties in this case have filed a joint motion to reset the trial date. The parties
also filed a joint motion to consolidate this case With several other related cases, for all
pretrial proceedings, and a joint motion to continue the scheduling conference currently set
for August 30, 2005.

Thejoint motion to reset the trial date is DENIED as unnecessary, as no official trial
date has been set in this case. The set of instructions regarding the scheduling conference,

Which is attached to the Notice of Setting, specifically states that the trial date contained

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Case 1:05-cv-01163-.]DT-STA Document 12 Filed 08/23/05 Page 2 of 3 Page|D 15

therein is “tentative only and may be changed by the scheduling order.” The case Will not
be placed on the Court’s trial calendar until a scheduling order is actually issued.

IT IS SO ORDERED.

JAQA/w/)Z`M//‘L

S D. TODD
ED STATES DISTRICT JUDGE

W;BWMS/

DATE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 1:05-CV-01163 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

ESSEE

 

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Honorable .l ames Todd
US DISTRICT COURT

